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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division

In Re:           TIFFANY R EDWARDS,
Address:         203 Raynar Court, Stafford, VA 22554
Last four digits of Social Security No.: 3240

       Debtor.                                                     Case No: 19-11158-KHK

NAVY FEDERAL CREDIT UNION,


       Plaintiff,                                                  Chapter 7
v.

TIFFANY R EDWARDS,
DONALD F. KING, Trustee,

       Defendants.


          NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY AND HEARING

        Navy Federal Credit Union, a creditor in this case, has filed papers with the Court to obtain relief
from the provisions of the automatic stay of the Bankruptcy Code with regard to certain property more
particularly described in those papers which are attached.

       Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
wish to consult one.)

        If you do not want the Court to grant this creditor relief from the provisions of the automatic stay
of the Bankruptcy Code, or if you want the Court to consider your views on the Motion for Relief from
the Automatic Stay, then on or before May 15, 2019, you or your attorney must:

       File with the Court, at the address shown below, a written response pursuant to Local
       Bankruptcy Rules 4001(a)-1(C) and 9013-1(H). If you mail your response to the Court for
       filing, you must mail it early enough so the Court will receive it on or before the date
       stated above.

                           William C Redden, Clerk
                           U.S. Bankruptcy Court
                           Alexandria Division
                           200 South Washington Street
                           Alexandria, VA 22314
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            You must also mail a copy of any such response to:

                          Robyn D. Pepin, Esquire
                          John J. Chappell, III, Esquire
                          Glasser and Glasser, P.L.C.
                          Crown Center, Suite 600
                          580 East Main Street
                          Norfolk, Virginia 23510


             Attend the preliminary hearing scheduled to be held on May 29, 2019 at 09:30 AM in
             Courtroom III, U.S. Bankruptcy Court, 200 South Washington Street, 3rd Floor,
             Alexandria, VA 22314.

        If no timely response has been filed opposing the relief requested, the Court may
        grant the relief requested in the Motion for Relief from Stay.

   If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief
sought in the Motion for Relief from Automatic Stay and may enter an Order granting that relief.

Date:     May 1, 2019                           Signature:     /s/ Robyn D. Pepin
                                                Name:          Robyn D. Pepin, VSB #77784
                                                               John J. Chappell, III, VSB #88617
                                                               Glasser and Glasser, P.L.C.
                                                               Crown Center, Suite 600
                                                               580 East Main Street
                                                               Norfolk, Virginia 23510



                                     CERTIFICATE OF SERVICE

        I hereby certify that on May 1, 2019, a true copy of the foregoing Notice of Motion for Relief
from the Automatic Stay was submitted for electronic transmittal to Robert R. Weed, Attorney for the
Debtor, and to Donald F. King, Trustee, and was mailed, first class, postage prepaid to Donald F. King,
Trustee, at 1775 Wiehle Avenue, Suite 400, Reston, VA 20190 and to Tiffany R Edwards, Debtor, at 203
Raynar Court, Stafford, VA 22554.


                                                           /s/ Robyn D. Pepin
                                                           Robyn D. Pepin, VSB #77784
                                                           John J. Chappell, III, VSB #88617
                                                           Glasser and Glasser, P.L.C.
                                                           Crown Center, Suite 600
                                                           580 East Main Street
                                                           Norfolk, Virginia 23510
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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

 In Re:

TIFFANY R EDWARDS,

          Debtor.                                              Case No: 19-11158-KHK

NAVY FEDERAL CREDIT UNION,

           Plaintiff,                                          Chapter 7

v.

TIFFANY R EDWARDS,
DONALD F. KING, Trustee,

          Defendant.

                        MOTION FOR RELIEF FROM THE AUTOMATIC STAY

 TO ALL DEFENDANTS:

         Pursuant to Rule 4001(a)-1(C) of the Local Rules of the United States Bankruptcy
Court of the Eastern District of Virginia, you have fourteen (14) days from May 1, 2019,
the date of service of this Motion upon you, to file a written response thereto and you must
file such response with the Clerk of the United States Bankruptcy Court, Eastern District
of Virginia, Alexandria Division, 200 South Washington Street, Alexandria, VA 22314 and
serve a copy of same upon the Plaintiff's attorneys, Robyn D. Pepin and/or John J.
Chappell, III, at Crown Center, Suite 600, 580 East Main Street, Norfolk, VA 23510.

 Robyn D. Pepin, VSB #77784
 John J. Chappell, III, VSB #88617
 Glasser and Glasser, P.L.C.
 Crown Center, Suite 600
 580 East Main Street
 Norfolk, Virginia 23510
 (757) 625-6787
 Attorneys for Navy Federal Credit Union
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TO THE HONORABLE KLINETTE H. KINDRED:

      Your Plaintiff, Navy Federal Credit Union, respectfully represents as follows:

      1.    That this is a core proceeding within the meaning of the Bankruptcy Code and

Rules.

      2.    That on April 11, 2019, the above-named Debtor filed a Petition in this Court.

      3.    That Donald F. King was appointed Trustee of the property, has qualified and is now

acting.

      4.    That at the time of the filing of the Debtor`s Petition herein, the Debtor had an

ownership interest in certain real property and improvements having a street address of 505

Garrison Woods Dr, #224, Stafford, VA 22556 located in the County of Stafford, VA, more

particularly described as follows:

            ALL THAT CERTAIN CONDOMINIUM UNIT NUMBERED AND
            DESIGNATED AS UNIT 224 OF BUILDING # 3, AS CREATED BY THE
            DECLARATION OF ONVILLE HEIGHTS, RECORDED AS INSTRUMENT
            NUMBER 050050566 (THE "DECLARATION"), AS AMENDED IN
            INSTRUMENT NUMBER 060024113 AMONG THE LAND RECORDS OF
            STAFFORD COUNTY, VIRGINIA, AND SHOWN ON THAT CERTAIN PLAT
            OF CONDOMINIUM ENTITLE PHASE II ONVILLE HEIGHTS A
            CONDOMINIUM, DATED JUNE 26, 2006, PREPARED BY C&D
            CONSULTANTS AND RECORDED IN PM 060000155, TOGETHER WITH THE
            UNDIVIDED INTEREST IN THE COMMON ELEMENTS APPERTAINING
            THERETO, AND SUBJECT TO TERMS AND PROVISIONS OF THE
            DECLARATION.

            BEING the same property conveyed to TIFFANY E. AL-HAKIM from MILDE,
            L.L.C. FORMERLY KNOWN AS MCMILLION AND MILDE, L.L.C., by Deed
            dated January 9, 2007, and recorded on January 10, 2007, as Instrument No.
            LR070000565.

      5.    That the Plaintiff is the holder of a Deed of Trust Note dated February 26, 2013, in

the original principal amount of $209,511.00 with interest thereon from said date at the rate of
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4.0% per annum, subsequently modified by a Loan Modification Agreement dated October 24,

2018, in the principal amount of $193,162.61 of which amount the sum of $55,989.28 has been

deferred leaving an interest bearing principal amount of $137,173.33 with interest thereon from

November 1, 2018 at the rate of 4.0% per annum, secured by a Deed of Trust on said real

property and improvements recorded in the Clerk's Office of the Circuit Court of the County of

Stafford, VA, on which there is an approximate payoff balance owing to the Plaintiff of

$195,892.11 as of April 22, 2019. True copies of said Note, Loan Modification Agreement and

Deed of Trust are attached hereto and incorporated by reference as Exhibits "A", "B" and "C",

respectively.

      6.    That there is no equity in said real property and improvements for the Debtor`s

Bankruptcy estate based upon the valuation of said property established by the County of

Stafford, VA tax assessor of $128,500.00.

      7.    That the Debtor has defaulted in the payments due to the Plaintiff relative to the

aforementioned Deed of Trust Note totaling the sum of $2,957.64 inclusive of late charges and

corporate advances, exclusive of attorney’s fees and costs incident to the filing and prosecution

of this Motion. The Plaintiff reserves the right to specify any additional payment default or

delinquency that may accrue between the filing date of this Motion and the time of any hearings

scheduled with regard to same.

      8.    That the Debtor, upon information and belief, does not wish to retain possession of

the aforesaid real property and, accordingly, has provided for the surrender of same in the

Debtor`s Statement of Intentions. That in order to institute state foreclosure proceedings relative

to the aforesaid real property and improvements, the Plaintiff is required to be relieved from the
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provisions of the automatic stays of the Bankruptcy Code which presently prohibit such

foreclosure.

      9.       That in the event the Plaintiff is granted relief from stay hereunder, the Plaintiff, its

agents and/or representatives, requests that the Order granting said relief allow the Plaintiff, its

successors and/or assigns, agents and/or representatives to send communications, as necessary, to

the Debtor, including, but not limited to, notices required by applicable state law in connection

with foreclosure or other proceedings or actions incident to the aforesaid real property and

improvements including any proceedings necessary to recover possession of same from the

Debtor.

      10.      That the facts hereinabove alleged constitute cause for a grant of stay relief in favor

of the Plaintiff pursuant to the provisions of 11 U.S.C. Section 362(d)(1) and are further grounds

for relief pursuant to the provisions of 11 U.S.C. Section 362(d)(2).

      WHEREFORE, Plaintiff prays that it be granted relief from the provisions of the automatic

stay of the Bankruptcy Code with regard to the above-described real property and improvements

including any act necessary to recover possession of same from the Debtor and that the stay of

such grant of relief imposed pursuant to the provisions of Rule 4001(a)(3) of the Bankruptcy

Rules be waived.

                                                 NAVY FEDERAL CREDIT UNION


                                                 By/s/ Robyn D. Pepin_________________
                                                             Of Counsel
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                                 CERTIFICATE OF SERVICE

      I hereby certify that on May 1, 2019, a true copy of the foregoing Motion for Relief from
the Automatic Stay was submitted for electronic transmittal to Robert R. Weed, Attorney for the
Debtor, and to Donald F. King, Trustee, and was mailed, first class, postage prepaid to Donald F.
King, Trustee, at 1775 Wiehle Avenue, Suite 400, Reston, VA 20190 and to Tiffany R Edwards,
Debtor at 203 Raynar Court, Stafford, VA 22554.



                                                  /s/ Robyn D. Pepin_____________
                                                    Robyn D. Pepin, VSB #77784
                                                    John J. Chappell, III, VSB #88617
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